                                                                      Case 1:09-cv-01998-OWW-JLT Document 43 Filed 07/30/10 Page 1 of 2


                                                            1   JOHN M. SORICH (CA Bar No. 125223)
                                                                jsorich@adorno.com
                                                            2   S. CHRISTOPHER YOO (CA Bar No. 169442)
                                                                cyoo@adorno.com
                                                            3   GEOFFREY C. BRETHEN (CA Bar No. 259873)
                                                                gbrethen@adorno.com
                                                            4   ADORNO YOSS ALVARADO & SMITH
                                                                A Professional Corporation
                                                            5   1 MacArthur Place, Suite 200
                                                                Santa Ana, California 92707
                                                            6   Tel: (714) 852-6800
                                                                Fax: (714) 852-6899
                                                            7
                                                                Attorneys for Defendant
                                                            8   CHASE HOME FINANCE, LLC,
                                                                erroneously sued as CHASE HOME FINANCE
                                                            9
                                                                                                 UNITED STATES DISTRICT COURT
                                                           10
                                                                                                EASTERN DISTRICT OF CALIFORNIA
                                                           11

                                                           12
A DORNO Y OSS A LVARADO & S MIT H




                                                                Bernard F. Clark,                                  CASE NO.: 1:09-CV-01998-OWW-GSA
                                                           13
                                                                                  Plaintiff,                       JUDGE: Hon. Oliver W. Wanger
                                    ATT ORN EY S AT LA W




                                                           14
                                        SANT A ANA




                                                                        v.
                                                           15                                                      ORDER GRANTING REQUEST TO
                                                                BANK OF AMERICA, N.A.;                             APPEAR BY TELEPHONE AT THE
                                                           16   COUNTRYWIDE HOME LOANS, Inc.;                      MOTION TO DISMISS THE FIRST
                                                                RECONSTRUST COMPANY N.A.;                          AMENDED COMPLAINT, OR IN THE
                                                           17   FIRST MAGNUS FINANCIAL                             ALTERNATIVE, FOR MORE DEFINITE
                                                                CORPORATION;                                       STATEMENT
                                                           18   MERS Inc.;
                                                           19   CHASE HOME FINANCE.;                               CRTRM:      6
                                                                                                                   DATE:       August 2, 2010
                                                           20   And DOES I-XX, Inclusive                           TIME:       10:00 A.M.
                                                           21                     Defendants.

                                                           22

                                                           23
                                                                                                                   ACTION FILED:       March 17, 2010
                                                           24

                                                           25

                                                           26
                                                           27   ///
                                                           28   ///
                                                                                                               1
                                                                             ORDER GRANTING REQUEST TO APPEAR BY TELEPHONE AT THE MOTION TO DISMISS
                                                                1141100.1
                                                                   Case 1:09-cv-01998-OWW-JLT Document 43 Filed 07/30/10 Page 2 of 2


                                                            1               The Court having reviewed the Request to Appear by Telephone of defendant Chase Home

                                                            2   Finance LLC (“Chase” or "Defendant"), erroneously sued as Chase Home Finance through its

                                                            3   undersigned counsel, seeks leave of Court for its counsel to attend the hearing on the Motion to

                                                            4   Dismiss (“Motion”) before the Honorable Oliver W. Wanger currently set for August 2, 2010 at

                                                            5   10:00 a.m. via telephone, as follows:

                                                            6               IT IS HEREBY ORDERED, that Chase may appear telephonically at the hearing on the

                                                            7   Motion to Dismiss, currently set to be heard on August 2, 2010 at 10:00 a.m. in Courtroom 6, before

                                                            8   the Honorable District Judge Oliver W. Wanger of the above-entitled Court, by and through its

                                                            9   counsel, S. Christopher Yoo, (714) 852-6868.

                                                           10

                                                           11

                                                           12
A DORNO Y OSS A LVARADO & S MIT H




                                                           13
                                    ATT ORN EY S AT LA W




                                                           14   IT IS SO ORDERED.
                                        SANT A ANA




                                                           15       Dated:       July 30, 2010                                          /s/ Oliver W. Wanger
                                                                                                                  UNITED STATES DISTRICT JUDGE
                                                           16                                                     DEAC_Signature-END:




                                                           17                                                 emm0d64h

                                                           18
                                                           19

                                                           20

                                                           21

                                                           22

                                                           23

                                                           24

                                                           25

                                                           26
                                                           27

                                                           28
                                                                                                                    2
                                                                            ORDER GRANTING REQUEST TO APPEAR BY TELEPHONE AT THE MOTION TO DISMISS
                                                                1141100.1
